                            Case 1:23-cv-00452-AMD-VMS Document 1-1 Filed 01/20/23 Page 1 of 8 PageID #: 10
                                                         Exhibit A to the Complaint
Location: Brooklyn, NY                                                                                   IP Address: 98.116.48.35
Total Works Infringed: 93                                                                                ISP: Verizon Fios
 Work      Hashes                                                                UTC             Site           Published     Registered   Registration
 1         Info Hash: F88C73EDBD5369156CF6618EDE7CCEE2E9362A4A                          01-11-   Blacked        11-05-2022    12-11-2022   PA0002384720
           File Hash:                                                                     2023
           7C6FB1FA98748FBF3EB6975B30203629C5F9DB3D0240D67EBB7A2F68EE1814E4           10:29:26
 2         Info Hash: 8BA41798E33B659C6AB6BE1F5970479FC27BE064                          01-11-   Vixen          11-04-2022    12-11-2022   PA0002384755
           File Hash:                                                                     2023
           918D5BEC584BD604582A22D42C1B6919C6FDE585CD60660FAF08C8A97738DF9C           09:35:00
 3         Info Hash: 3288E1B15FBABC29A6EFD53A33AED22403A0FED7                          01-11-   Vixen          12-16-2022    01-10-2023   PA0002389621
           File Hash:                                                                     2023
           5664136B8F7CBBC79F414F877E5C49BC69B2E19CF2643EC8340106AF1B4D994F           09:34:39
 4         Info Hash: 7439F6C3D8B4655E9B53F9D31F567932DF4ED637                          01-11-   Blacked        11-05-2022    12-11-2022   PA0002384735
           File Hash:                                                                     2023   Raw
           8B34A9E14931BBDDCD25E30FBF9B5DE23BD296788138AC9D03C05C1E62091DC4           09:34:34
 5         Info Hash: D94A292DE29E15C71099DEB38C0B546E0B5108BA                          01-11-   Blacked        12-03-2022    01-10-2023   PA0002389627
           File Hash:                                                                     2023
           78061E0B3C13440F531D99A9E6AA85EA547B0DA3360178A537F2AD623E4A5409           09:33:57
 6         Info Hash: 72346C684333B29BA44A3AD510D50601209FC2CE                          01-11-   Vixen          11-25-2022    12-11-2022   PA0002384729
           File Hash:                                                                     2023
           E0C847982F6D2E8FEE75BFF7D0A5C8996ADC5833DCD8B863F3F53AA452E0BBB8           09:07:31
 7         Info Hash: 43EED9CE8E5D6617A4583D8D2CBFC70C077744CD                          01-11-   Blacked        11-15-2022    12-11-2022   PA0002384724
           File Hash:                                                                     2023   Raw
           575ABAA65CDDDCEB4338CA4315340EB9779E202370B4B726C38F5AB8924F3233           09:03:24
 8         Info Hash: 349A6EC9CB55F19BC4B98BF626C6E86B0C20F761                          01-11-   Vixen          12-23-2022    01-10-2023   PA0002389606
           File Hash:                                                                     2023
           7E31F2BA77781F5A5FADCF63157738134F6ED8CA5B7FAF3217BE490646CF1549           08:36:49
 9         Info Hash: ECE7258EB3599A33728969D13171F844B0EEFDB3                          01-11-   Vixen          10-28-2022    12-11-2022   PA0002384773
           File Hash:                                                                     2023
           BAA9A9A0CF3BDD30B0A91CA8921EB5E38DC987CD56648AFD2BB407355992640E           08:04:27
 10        Info Hash: 8B78B77793A4284DD8647508DD3EDB99FC4C7A6E                          01-11-   Blacked        10-26-2022    11-01-2022   PA0002378070
           File Hash:                                                                     2023   Raw
           8381CC3932E3A99B26C1665F380DFFF62D13EA20F85A94C2D0B9ED4AE413B9B4           07:27:32
 11        Info Hash: C5918794A3A86750324DB339455F5EDBD2782579                          11-06-   Vixen          10-14-2022    10-31-2022   PA0002377830
           File Hash:                                                                     2022
           8826235EC94CBCA6DD1621B3EC7C4F5713EBEB71620194A5558C68F80922C4F2           21:09:19
                      Case 1:23-cv-00452-AMD-VMS Document 1-1 Filed 01/20/23 Page 2 of 8 PageID #: 11

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: 88DEE49E165E812CD294E8008E656412E3CE4605                   11-06-   Blacked   09-11-2022   10-05-2022   PA0002373951
       File Hash:                                                              2022   Raw
       010047D1F2C49A234E525CB4CA67E2A3B80915F8B3108E274CF6C7160FC6339B    20:14:49
13     Info Hash: C7DBB7401AB0BBD41AE23CE6443DE6A5AD4E47DA                   11-06-   Blacked   10-06-2022   11-01-2022   PA0002378072
       File Hash:                                                              2022   Raw
       2FDBFE4079E8F6F7897B1A65D8A7C6A97ACF1CEC928105DF9E83DAFAE121B75A    20:11:38
14     Info Hash: 3BC22005E2AFC76A838931DCA776BBA6A7235CD8                   11-06-   Blacked   10-08-2022   11-01-2022   PA0002378074
       File Hash:                                                              2022
       52978CFAE6E89E7576A6ACF227919E58FF957546FD0FBEF1FBECBE1294075FED    19:28:37
15     Info Hash: 81F168AE4D617B492ABE43FD31EB38D8A5B5BCA5                   11-06-   Blacked   10-16-2022   11-01-2022   PA0002378071
       File Hash:                                                              2022   Raw
       B51FACD2FC56DAE63E9AC46634D88BB4CEE03E6887A99467095C8C6435C3F91C    18:27:25
16     Info Hash: C60686B993E19D6EA2BE4EAEF1099D09CA050695                   11-06-   Blacked   10-11-2022   10-31-2022   PA0002377831
       File Hash:                                                              2022   Raw
       5F82A986E0E58A79427CD69AC4464B240C51401C3F3ADA1C57CE1272EA84CAC3    17:50:06
17     Info Hash: DFC677B3BCF37A7E55404E3E5731941D2359FFB0                   11-06-   Blacked   10-15-2022   11-01-2022   PA0002378073
       File Hash:                                                              2022
       5F25B590AD4112FF595A46ACD69C7C25FA4627AEE952A25AB8DFE68590703A31    17:17:40
18     Info Hash: 02B4F8C61194285E5B9B3AE3EF214BE78C41F271                   11-06-   Blacked   09-17-2022   10-05-2022   PA0002373760
       File Hash:                                                              2022
       CED49D312F703F0E082E164ACB1A596D9ABE26A2F8876E5BD06818F49F119126    16:54:19
19     Info Hash: D82B3D04FC3C942F5380175F5BD7A953DBFDBE7C                   11-06-   Vixen     01-21-2022   02-14-2022   PA0002335466
       File Hash:                                                              2022
       E18B9AE8F32CC0841E9389E6353EAF180393E302517BFD010DCA54AC172C2E1C    16:51:34
20     Info Hash: 809B162C22ABD37CD07C346DAA103D0C42B20F6E                   11-06-   Blacked   10-22-2022   10-31-2022   PA0002377820
       File Hash:                                                              2022
       0D4CB5EDAEC9B40F128E11CB047013FC8D3770060726FE0BD6D2723141B74580    16:51:22
21     Info Hash: BFAE234339BBE35D844A4EE4133C90406DF7B3E8                   11-06-   Vixen     09-30-2022   10-31-2022   PA0002377819
       File Hash:                                                              2022
       F8D7494A0822F44A156C1B9FE51CF24B35ECC74999B8F94853470ADCE2ED2187    16:49:31
22     Info Hash: 258B938C8DB932BA26C6C13091AB699725DE4029                   11-06-   Blacked   10-01-2022   10-31-2022   PA0002377817
       File Hash:                                                              2022
       5021FA9F75FFAE5AE30C79FEAC33A1296CEFCE229F032576EBFCD9407D8DA664    16:33:05
23     Info Hash: BE12BC47B9E8402E60F764439965F58677EA2C40                   11-06-   Blacked   08-27-2022   10-05-2022   PA0002373768
       File Hash:                                                              2022
       37B0125CE7B2426E3BFD90B5564EA53F57F42E24B8E3BEEF272DAADA834740EE    16:24:04
                      Case 1:23-cv-00452-AMD-VMS Document 1-1 Filed 01/20/23 Page 3 of 8 PageID #: 12

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
24     Info Hash: 15A55EBB3FD06FE9F9067812A0D0168440813B70                   11-06-   Blacked   10-21-2022   10-31-2022   PA0002377818
       File Hash:                                                              2022   Raw
       4AAF11148C0E2CDFA98BABEEC2740D453CACED2CE62079EAE8D18A0C5E2E4BD7    15:47:24
25     Info Hash: 1A76A113C1D33455F6FB4D100985C9DA1974F425                   11-06-   Vixen     07-22-2022   08-30-2022   PA0002367741
       File Hash:                                                              2022
       3A1FA743DEEE32C83316CCC75083FEBCC7CAAF64D5BE1B92439D792FDBDBA248    15:45:19
26     Info Hash: 040C855A55FDB1891D0D9D6655F11D3DF0EC11F5                   11-06-   Vixen     09-09-2022   10-05-2022   PA0002373766
       File Hash:                                                              2022
       72F566FB4D1BDDF7E3087ADD2C9DF4D8431564B7602681FB07685B0A6086350C    15:26:58
27     Info Hash: C174354B8FC2DF15F9D87535B08D3AF8DCACF608                   11-06-   Vixen     05-13-2022   05-20-2022   PA0002350373
       File Hash:                                                              2022
       A2741516AAC01F46244E3E16DB0E56C9D51736047131EC0C1E92CF317E1EE2D5    15:12:25
28     Info Hash: 848D53796E57ECC9339584B00C85DBECC15B1972                   11-06-   Vixen     05-27-2022   06-27-2022   PA0002355035
       File Hash:                                                              2022
       71BA8001D0DB2EABF4C24A1E059187713B008BB937F30A0217782816A4C04421    15:08:31
29     Info Hash: B664491ECF005F0F196B8A1FBF69B2DF31F03B4A                   11-06-   Vixen     10-07-2022   11-24-2022   PA0002389323
       File Hash:                                                              2022
       16DD10031D63C17B5F0170F4F4FACF6AE53C50E1CA671EF54563CE31CD79D211    15:01:55
30     Info Hash: AAE348D90C4FA39840051273248DBE0EA9D7FE9D                   11-06-   Vixen     07-01-2022   07-22-2022   PA0002359463
       File Hash:                                                              2022
       E562B3825FE50F9CC794DC8E409512EB0E44398E0F90D53EE11B138015C05EA5    14:57:50
31     Info Hash: 43268005821A1C19A5BD98A52E5C5D6C921B0859                   11-06-   Vixen     08-05-2022   08-29-2022   PA0002367737
       File Hash:                                                              2022
       652E3A33EE1203CA13CB60AEE357002DC184DBF0F053878BDB954B300A6504A1    14:11:47
32     Info Hash: 88620B073A78B5264AADA5BCF92E3754C8168416                   11-06-   Blacked   09-01-2022   11-24-2022   PA0002388645
       File Hash:                                                              2022   Raw
       00FDD1FDE04C8587F3CC14942E05965765D7812FF108DDF80F33FAF764AB4A57    14:08:14
33     Info Hash: 9E1543FF1003B36A96330F556507E44979C5DA95                   11-06-   Vixen     01-07-2022   01-17-2022   PA0002330115
       File Hash:                                                              2022
       BE9B0C5F0776C0A8009C6FA969C635377B9E276FECD044BB314FFD52B3FE0A34    13:52:09
34     Info Hash: 2FCBD1C3933C171D375EC8699D1FDE9EA1DA6C10                   11-06-   Vixen     12-10-2021   03-04-2022   PA0002345787
       File Hash:                                                              2022
       68210442F19631B56C7724F6E921FFB48D663BD863DECF01943DCB7CB59A8AC2    13:38:16
35     Info Hash: A46EF5D51533052AB5DB18AD5D59C02498112521                   11-06-   Vixen     12-03-2021   12-09-2021   PA0002325832
       File Hash:                                                              2022
       E5D45312A0B249EB3F0741F4B012A08C297C648B314375ED6CC0A752B45BE90B    13:27:54
                      Case 1:23-cv-00452-AMD-VMS Document 1-1 Filed 01/20/23 Page 4 of 8 PageID #: 13

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
36     Info Hash: 51B8B05E291259D05FAEE870D556CE9E549EB5EB                   11-06-   Vixen     09-02-2022   11-01-2022   PA0002378068
       File Hash:                                                              2022
       FC775F0538AF2905607357E51C54370DEC7C7B8001939C08110CF0D3DC491655    12:13:31
37     Info Hash: 89F958D507CD3D674F1E7D1779C02D717C70434C                   11-06-   Vixen     02-25-2022   03-29-2022   PA0002342849
       File Hash:                                                              2022
       B5D31B55B67A613807EBBE4CE720BB877617D202C94A27E457204CD09B918633    12:11:07
38     Info Hash: 05438F2CF69D18238BBA727486A2E2701D8C6209                   11-06-   Vixen     07-08-2022   08-10-2022   PA0002370903
       File Hash:                                                              2022
       2410CBC313B4B1900B9EA08395296AB2AC2FC150963C30152F45421D5C4DE38C    12:10:24
39     Info Hash: 5DD8FE251E55C661D34B4BB7AA78AB5C0175FB82                   11-06-   Vixen     05-07-2021   06-24-2021   PA0002303619
       File Hash:                                                              2022
       08EBD9746DB8A30A4CE5944E6644C6E2C778D36537203B1A1DD97685831963A0    12:08:06
40     Info Hash: 1728CB5F8700CB059FF02BBFCEB8884985F57CD7                   11-06-   Vixen     06-03-2022   06-27-2022   PA0002354958
       File Hash:                                                              2022
       3031212457D6D3977B24E542FD2BD9DB5EC49B47F6E305DED4DE803836F8D750    12:04:12
41     Info Hash: 4D826F33C739277D8753E4D6C08251BE9CB47000                   11-06-   Vixen     12-31-2021   01-17-2022   PA0002330094
       File Hash:                                                              2022
       9AFCA332C34FDEB5B417864F8F37D3FE82DD31B140B778954FF766C23BADD932    11:10:22
42     Info Hash: D3C7547DFCD8ED55266AD1B89E3DB438623BAFF5                   11-06-   Vixen     09-03-2021   09-30-2021   PA0002320425
       File Hash:                                                              2022
       77A1BFABFF7693F1B8DFD978DBE77DC1B649C8700FA90290EAB65328CE80BD32    11:07:27
43     Info Hash: 484B79CD3E645BD7A365E97E92F2504FF9FC467A                   11-06-   Blacked   08-13-2022   08-30-2022   PA0002367729
       File Hash:                                                              2022
       FCB15AD0B43E46D890B68CF2D682DB5775314EF9405F8F52FA1E79D87A404ADC    11:04:08
44     Info Hash: 05926D256929D4E3557BF7DBE26A5DF0140DA580                   11-06-   Vixen     07-16-2021   09-21-2021   PA0002312673
       File Hash:                                                              2022
       12DB0B0E6F2AD6D47AF4BDC53CA5F62CAC99D03FF937B0796B3E6CF21057785D    10:29:29
45     Info Hash: D9F6076D4145F5E574FFDE66993B5D70E7E3CBE5                   11-06-   Vixen     09-17-2021   10-05-2021   PA0002315292
       File Hash:                                                              2022
       39B5A5580E39240898CA0E2F034DFD8ACCD0C18D98E2EE291BC07B4E336BED5C    10:19:48
46     Info Hash: BFA30A14B5ACDD49ED2E66FDF882640473CA4472                   11-06-   Vixen     06-24-2022   07-22-2022   PA0002359475
       File Hash:                                                              2022
       1B5D4C656444C4321E6BAE842F0C5DE536A344CFCDC7852CD3130CEFB4AC3682    09:37:32
47     Info Hash: B2BD02F85748E9B929C507FF7927035B3DB7D9C3                   11-06-   Vixen     07-29-2022   08-29-2022   PA0002367717
       File Hash:                                                              2022
       F5512656E2B6581C621ECB4540F947AD22C4D7282DEBB316F0E72005F6943ADC    09:35:00
                      Case 1:23-cv-00452-AMD-VMS Document 1-1 Filed 01/20/23 Page 5 of 8 PageID #: 14

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
48     Info Hash: BE759F6A958267C1A4C7E1B93F63ECB0B0EE0A46                   11-06-   Vixen     05-21-2021   06-03-2021   PA0002299688
       File Hash:                                                              2022
       4CA71F7DF19396D03CFAE2047B41EE8B846297AC0CD7DF5EB885A7BA9879C004    09:32:57
49     Info Hash: 59273C2580C92D41695C8A1D890F6F4AB3D63299                   11-06-   Vixen     06-17-2022   06-27-2022   PA0002355040
       File Hash:                                                              2022
       C0F97DC824E118F0CA0225BB2C6B6E04DD9B1E2F68E10D364DD9F6F24E2E081F    09:32:12
50     Info Hash: E6407E0ABEA09EB702CB16B07FE45432F50F7CAF                   11-06-   Vixen     04-22-2022   05-20-2022   PA0002350377
       File Hash:                                                              2022
       093B1FBCE39A73834E53CA771C4F58B0B28B8C0F1A80001E6D37492B1E8F2ABC    09:05:02
51     Info Hash: BE57461CB8758373E76FA39737B733F0BA62120D                   11-06-   Vixen     08-12-2022   08-30-2022   PA0002367721
       File Hash:                                                              2022
       2CE319A8BD55009F717AAA7E732951216E19F9B764510F5E7F82B0BB2847CA3C    09:04:18
52     Info Hash: D07FCE81EB4557E725B5E70B5695E3824BD3D395                   11-06-   Blacked   08-20-2022   08-29-2022   PA0002367733
       File Hash:                                                              2022
       077451F1DE9DCB08110698D7517F083F9A8BD1292FC5E209618C634181CACC52    09:04:05
53     Info Hash: 3ACD1EECE1081E1CA41E348646481F4D9E28B44E                   11-06-   Vixen     02-04-2022   02-14-2022   PA0002335462
       File Hash:                                                              2022
       478D6B308D7B444EECEAD5198C28C40247F9B84D3ACABEE6DA17B102831E08E7    09:04:04
54     Info Hash: 0DCAD5CD34D983D041D5DFFFCBE84AB849B55877                   11-06-   Blacked   08-27-2022   10-31-2022   PA0002377814
       File Hash:                                                              2022   Raw
       5CA26B5703389C3C514505A8D2191E29676BA81E777D3F071585FB71B5D6FDDE    09:00:05
55     Info Hash: 0A403C5393AF81473E00CCCA915603AF1658D067                   11-06-   Vixen     04-23-2021   04-27-2021   PA0002288949
       File Hash:                                                              2022
       8B3DE2365C94F483C7750F01139239B1FE005E0C3D56659AF2A8450DDEBB3AB4    08:56:05
56     Info Hash: E9645FE775040144DF8957B3093DE2450DF1CEE1                   11-06-   Blacked   08-22-2022   08-30-2022   PA0002367731
       File Hash:                                                              2022   Raw
       8B99A3AC68E8AF718CE04BB3B534AC08098C4581955B4413F4AB61A2BD68673B    08:17:35
57     Info Hash: A415A6857FC17645C0DD4F459251809AE42AF562                   11-06-   Vixen     08-27-2021   09-30-2021   PA0002319735
       File Hash:                                                              2022
       BCB5233B1D65A9B1514D1C32F7A765BBEFEE0FAB7DA467BC9573F47FE7EC1955    08:15:52
58     Info Hash: A6F189AFF3929996CFF5F25DA60AA451873C0FC4                   11-06-   Vixen     11-26-2021   01-07-2022   PA0002337919
       File Hash:                                                              2022
       5ED45691E4613CA077BCDAD75EFDC123C707B406CF072FFEE8EC062927ABCCFE    08:06:45
59     Info Hash: E487AEAF023F000FA0480422191EA7DFF77E00FB                   11-06-   Vixen     01-28-2022   03-04-2022   PA0002345791
       File Hash:                                                              2022
       AEDD21CC7A3E4701C1F3B23E0A5882C51BC45309D48DD1CD664C8F846FD123BC    08:05:17
                      Case 1:23-cv-00452-AMD-VMS Document 1-1 Filed 01/20/23 Page 6 of 8 PageID #: 15

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
60     Info Hash: 69ECE7BD6C605D63E9EBEEFD35082CF1627E2932                   11-06-   Vixen     03-18-2022   04-21-2022   PA0002353056
       File Hash:                                                              2022
       A3628C7AE4DA0E79C6D35487C4FF335DB1B04C0081C7DD4AC946B16F94EBBD1B    08:02:48
61     Info Hash: 93D9ED76CE803016E374DBDEF0C29D4700C5BCB7                   11-06-   Vixen     06-10-2022   06-27-2022   PA0002354995
       File Hash:                                                              2022
       3AE5AA3E74C4180855311864016A17C66AD81062C998A3A67FB9984624F06033    08:02:48
62     Info Hash: C20EA351BB316CBF2DC35ADB71846A2E49352ACB                   11-06-   Vixen     08-19-2022   08-30-2022   PA0002367752
       File Hash:                                                              2022
       FD734D04BB084B82492FB2B26BB9EA993DAC49FEC7A01E646428AD8DC060F7B1    07:42:36
63     Info Hash: EA9FF13E03AB98F784270C43F9812FF205C74AD8                   11-06-   Vixen     08-19-2021   10-05-2021   PA0002315294
       File Hash:                                                              2022
       4B815AE2C3BBEFEA6AB1B15442E7FE5D03648BDEEA1A2993D20BF914535C52BE    07:34:15
64     Info Hash: D1A20BB943E213244AEB42BC43F34BE72E46F6DB                   11-06-   Vixen     07-09-2021   08-20-2021   PA0002312016
       File Hash:                                                              2022
       DA8F290222976E6C2CED7C5FD6A0ACE756D4D2525F6D7C92A66C8EE2A284CA0E    07:31:22
65     Info Hash: 775F2CA14447D23424007E92CCEAE9378307B48E                   11-06-   Vixen     10-15-2021   10-19-2021   PA0002317061
       File Hash:                                                              2022
       393A96A4745DB1CF46E96730EAB57731FE56A1C423EE2CE3AFB30A929D0BE688    07:30:41
66     Info Hash: 117CA95ECA49CAFAEFB42B0B343C6631B6B37BBD                   11-06-   Vixen     03-04-2022   03-29-2022   PA0002342709
       File Hash:                                                              2022
       9746EDC3063F53EBE110CFCB65D94D0E48DE56AC10EDD87A90C772E2648142ED    07:28:59
67     Info Hash: 0F058C65F3232B7C21FC46A70D9A282290A70729                   11-06-   Vixen     02-11-2022   02-14-2022   PA0002335457
       File Hash:                                                              2022
       13F283614EA119F14F567A4C85407B6D90A09735B58AE12228BE7A085CB81F34    07:28:42
68     Info Hash: 995EDCB1EB9346A9201A7D7D983C451A99226581                   11-06-   Blacked   09-06-2022   10-05-2022   PA0002373770
       File Hash:                                                              2022   Raw
       33E2DEF2AAC1F6DFE6DD74894160F8807285A81BB574338E1A11CB5705EF4C47    07:28:42
69     Info Hash: D70D2C95E1758D6D0838C13142400443F66F0E51                   11-06-   Blacked   09-10-2022   10-05-2022   PA0002373949
       File Hash:                                                              2022
       8D9CBF0567FDCBF4C4762C68C84376A08B27A8D2CB71B3F37D798FBCA86B7570    06:38:23
70     Info Hash: F3FFE03067B4C5FB4B05054E83FBB4081C9052F9                   11-06-   Vixen     05-20-2022   06-27-2022   PA0002354985
       File Hash:                                                              2022
       FDDC943D33FE63B194E3B54CDB0426E2F2195DDCAC3A67F3941C7BFBB03CDAE4    06:29:11
71     Info Hash: EE164157CC85B1C5589DEDCB523C91D750A75399                   11-06-   Vixen     11-19-2021   12-09-2021   PA0002325815
       File Hash:                                                              2022
       3C436FD215694282EC63C7412A3D4801978123631FBB513B382C2AB897FD099A    06:29:00
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
72     Info Hash: 216F45A59927B41DC23BEAF802AF3AC7E990BFF6                   11-06-   Blacked   08-06-2022   08-29-2022   PA0002367714
       File Hash:                                                              2022
       0225B45018AC75C00DD17C4293E6D0E5FC7E2566523D7538FFBAD0EFE1E4CC62    06:26:40
73     Info Hash: B5AA5C3AB921F95936B7D911457ED412E86496CC                   11-06-   Vixen     09-29-2021   11-11-2021   PA0002321322
       File Hash:                                                              2022
       622428573E787EC0A79B734175F79713DFADA96C407F7EC2D81CBEA1D8D2AE54    06:25:20
74     Info Hash: BB349C1293CF3112B08434A0CD6DB65533E540AE                   11-06-   Vixen     07-15-2022   07-22-2022   PA0002359477
       File Hash:                                                              2022
       A0B82E6D979B02C53F6EF85500D6622928A69DB240883DC1978E9B1601CF5FAB    06:19:57
75     Info Hash: D323B4EC16C8CD83752B6A5E4B65DEED95346FA2                   11-06-   Vixen     05-06-2022   05-20-2022   PA0002350383
       File Hash:                                                              2022
       32BB57E161FF42FDD49E28DBBB43994CDD455364EEA844B2396E47DDB7E46DA2    06:14:18
76     Info Hash: 7A5E3408AF26D787EE0E1F03A2F77436F75950D7                   11-06-   Blacked   08-15-2022   08-29-2022   PA0002367735
       File Hash:                                                              2022   Raw
       0545C33026AFC826D0331FB6ABB4723673C0F9D76258F7C5F291D1B1D889A325    06:13:41
77     Info Hash: D156C5F6B8F3AF78BE99FC1DD0FBF7177BBCED5C                   11-06-   Vixen     10-22-2021   11-11-2021   PA0002321272
       File Hash:                                                              2022
       59510D6F123F21429DA99C2323BF6EC72A9E3C364259F9D987AE22848F5FC312    06:13:21
78     Info Hash: FD5C62D3613EF573E62CD6548E3BDFA287B049F1                   11-06-   Vixen     04-01-2022   04-23-2022   PA0002346428
       File Hash:                                                              2022
       D69EA86DE6D070D289158FCFAC79742948FA880377BB95F432466115FA63BC67    06:12:00
79     Info Hash: 795401C50FDDADEABBF656934EF4862EDAF4D812                   11-06-   Vixen     11-12-2021   12-09-2021   PA0002325810
       File Hash:                                                              2022
       54D9902D31E13E7895DED6398A97BF3B7210AE9A96A784AE73230AECE8305429    06:01:32
80     Info Hash: 76F95670FA20DDC51B0DA2B370811C85A77261AF                   11-06-   Vixen     09-24-2021   11-11-2021   PA0002321289
       File Hash:                                                              2022
       F07BEB037C33C3900A5286CAE8445B4E99443F63E28A3B1FE01CCA53F259A240    06:01:26
81     Info Hash: 2FE3DB21DF0D396DD681E23816AA6AA15F59E6B6                   11-06-   Vixen     12-24-2021   01-17-2022   PA0002330122
       File Hash:                                                              2022
       A760C42F362D9B2CBE12463BF6D84ACB9ABA030CC0A976BB24915B39D0F79D04    06:00:29
82     Info Hash: AC3D3B8282563DDBACFEEB9915DA0ACA37FEC2DD                   11-06-   Vixen     09-13-2021   09-30-2021   PA0002319739
       File Hash:                                                              2022
       CE1C7E0C34CCE673204AB3CE70296C4466B044EFBE38AE0A048211F0E959DCA2    05:59:45
83     Info Hash: 510C2BAB64EA5525520E00137D9908D94024D1AB                   11-06-   Vixen     03-25-2022   04-23-2022   PA0002346420
       File Hash:                                                              2022
       1C51B794FEAF50F037AB80706445580AD627E13343301FD34EDCC500BF4AB121    05:58:52
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
84     Info Hash: 3DB6B513A919E0644D5F481513629394A7531A79                   11-06-   Vixen     07-30-2021   08-20-2021   PA0002312017
       File Hash:                                                              2022
       74F92B87D6C2F0B787AD1CCB8FF4D8F3E3447A1BA1457038E3A99C299BCBE8D5    05:54:55
85     Info Hash: 6EF0A990E2D6BED03ACBC94E6B32574AECDD887E                   11-06-   Vixen     10-08-2021   11-11-2021   PA0002321269
       File Hash:                                                              2022
       11FE592AC86B40021DC11C07FF2DE45F5B9C4DBD2F4EEEBCE1318DEC8054A07E    05:54:09
86     Info Hash: 727178DEDE59549B0F3D19A6AE9F515971FBF3AC                   11-06-   Vixen     01-08-2021   02-02-2021   PA0002280513
       File Hash:                                                              2022
       9FDA321883F29EEEC3762C56924CB22E57A8F3DAD2A6A2539740A75970060C20    05:53:55
87     Info Hash: 095F042567422449F7D8DF1F42C86AADF4849881                   11-06-   Vixen     04-02-2021   06-09-2021   PA0002295593
       File Hash:                                                              2022
       73A09E29C382A49CE03E47A0CDB3930655BE50786D249AB83FC020E2A09CB509    05:53:50
88     Info Hash: 34F0DA2F0CCF929271FCC00697F4B9070B8C4254                   11-06-   Vixen     08-26-2022   10-05-2022   PA0002373767
       File Hash:                                                              2022
       14077D361F4604AA9DBBE92C06966CEF5BB7DC4073ECF07D76458645073A9F67    05:53:12
89     Info Hash: E845CE6EA6CA1AD41A7DA16BA94A93140CEB8D4B                   11-06-   Blacked   09-03-2022   11-01-2022   PA0002378069
       File Hash:                                                              2022
       39531E8B899812CD79908CF4CE5904927148B0D3AC04197D9D3192D837CB64F2    05:12:05
90     Info Hash: 24CBC0961F66D0254842302FDBC0E033E4ACE4C1                   11-06-   Vixen     03-12-2021   03-22-2021   PA0002282506
       File Hash:                                                              2022
       BCD842C4D932CD371B7965C899B4CE0B4E103F02DA5362F1C6A546A892B7CDFF    05:08:38
91     Info Hash: 30E07E2124EB9681F8D0DABF9E2121927302FD72                   11-06-   Vixen     10-29-2021   11-11-2021   PA0002321280
       File Hash:                                                              2022
       96A7A9222CD845946BB1F902ABD4BB1A3ACF0AB353C3A5AAA0C1C1F1C046C9CC    05:04:07
92     Info Hash: 1A73D8163644CA83E455669951E0582657F422E8                   11-06-   Vixen     09-13-2021   10-05-2021   PA0002315286
       File Hash:                                                              2022
       8BD1C16FAA5C47663ADA3CA5D2931DDD6D6FF4CFADA05F3FC545F4D565B08042    05:02:35
93     Info Hash: 7DC314B0DD6AE33E792CDD84E3127110CB6ABB15                   11-06-   Vixen     04-16-2021   06-09-2021   PA0002295602
       File Hash:                                                              2022
       143A618195C5205D31D7394510EF00D3D6F9159C6BBD3C485E0EE586B12F4D27    05:02:21
